8:14-cr-00206-RFR-MDN         Doc # 53     Filed: 07/15/14    Page 1 of 1 - Page ID # 158



                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                    8:14CR206
       vs.                                 )
                                           )                      ORDER
JORDAN A. GREGORY,                         )
                                           )
                     Defendant.            )



      This matter is before the court on defendant's MOTION TO EXTEND DEADLINE
FOR FILING OF PRETRIAL MOTIONS [52]. For good cause shown, I find that the motion
should be granted. Pretrial Motions shall be filed by July 29, 2014.

       IT IS ORDERED:

     1.   Defendant's MOTION TO EXTEND DEADLINE FOR FILING OF PRETRIAL
MOTIONS [52] is granted. Pretrial motions shall be filed on or before July 29, 2014.

       2.       The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between July 15, 2014 and July 29,
2014, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reason defendant's counsel required additional time to
adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       DATED this 15th day of June, 2014.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
